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                       UNITED STATES BANKRUPTCY COURT FOR
                        THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                         )             In Proceedings Under
                                               )
LEO TIGUE                                      )
                                               )
                                               )             Chapter 13
                                               )
                Debtor(s),                     )
                                               )             BK No. 19-30460


                                              ORDER

         THIS MATTER comes before the Court on the debtor’s Motion for Extension of Time to

Comply with the Agreed Order issued September 13, 2019. Said motion is GRANTED. The

debtor shall have forty-five (45) days from the date of this order to fully comply with the Agreed

Order issued September 13, 2019. Failure to file all of the required documents within the

allotted time shall result in the dismissal of this case without further hearing or notice.

         Counsel for the moving party shall serve a copy of this Order by mail to all interested

parties who were not served electronically.


ENTERED: October 16, 2019
                                                              /s/ William V. Altenberger
                                               __________________________________________________________________________________________

                                                UNITED STATES BANKRUPTCY JUDGE/7
